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James A. Noe|
Latoya Grayes

STATE OF NEW MEXICO
COUNTY OF BERNALILLO
SECOND JUDICIAL DISTRICT

RoBERTs, JM,
RoBERTs, TRACEY,

Plaintiffs,

V. NO. D-202-CV-2016-07571

 

HARRISON K-9 SEerCES, LLC,
A Nevada Limited Liability Company,

Defendant.

COMPLAINT FOR DAMAGES

COl\/lES NOW Plaintiffs J im and Tracey Roberts, (“the Roberts”) through their counsel,
Atl<inson, Baker & Rodriguez, P.C., and for their Complaint against Defendant Harrison K-9
Services, LLC (“Harrison K-9”) allege and complain as follows:

PARTIES, JURISDICTION, AND VENUE

l. Plaintiffsj husband and Wife, J im and Tracey Roberts are residents of the Village of
Los Ranchos, State of New MeXico, County of Bemalillo.

2. Defendant Harrison K-9 is a foreign Nevada Limited Liability Company, With its
principal place of business in Ail<en, South Carolina.

3. At all times material to this lawsuit, Defendant Harrison K-9 Was conducting
business in the State of New MeXico.

4. Harrison K-9 purposefully initiated activity Within the State, by entering into a
Contract With Plaintiffs to sell goods that a Harrison K-9 representative personally delivered to
Plaintiffs at their home in New MeXico and by conducting trainings With its product over several

days at Plaintiffs’ home in New MeXico.

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5. Harrison K-9 made several misrepresentations to the Roberts at their home in New
Mexico about its personal protection security dogs.

6. Harrison K-9’s conduct Was such that it could have reasonably anticipated being
subjected to the jurisdiction of the New Mexico courts if it delivered non-conforming goods under
the Contract, as it has.

7. This Court has specific personal jurisdiction over Harrison K-9 pursuant to NMSA
1978j Section 38-l-16(A)(l) & (3)(1988) by transacting business in the State ofNeW Mexico and
committing tortious acts in New Mexico, Plaintiffs’ cause of action arises out of that business
transaction and commission of tortious acts, and Harrison K-9 purposely availed itself of the
privilege of conducting these activities in New Mexico sufficient to establish the minimum
contacts required to satisfy due process.

8. Venue is proper in the State Courts of New Mexico pursuant to NMSA 1978,
Section 38-3-1(F) (1988).

9. 'l`he State Courts of 'Nevv Mexico have jurisdiction over this action pursuant
to Article VI, § l3 of the New Mexico Constitution.

lO. The Federal District Court for the District of New Mexico does not have diversity
of citizenship jurisdiction over this matter pursuant to 28 U.S.C. l332, as the matter in controversy
under this Complaint does not exceed the total sum or value of $75,000j exclusive of interest and
costs. Moreover, this Complaint does not allege any cause of action arising under federal laW, and
there is no federal question jurisdiction pursuant to 28 U.S.C. l33 l. Removal to federal court and
the exercise of federal court subject matter jurisdiction Would be improper and Wrongful.

ll. Subject matter jurisdiction is only proper in the State Courts of New Mexico.

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FACTS APPLICABLE TO ALL COUNTS

The Roberts’ Security Issues that Led to the Purchase of Harrison K-9s

l2. In 2016 the Roberts began experiencing security issues and threats to the safety of

their persons and property. The Roberts purchased from Harrison K-9 the personal protection
security dogs referenced beloW, for the purpose of protecting themselves and their property.
Plaintiffs disclosed most or substantially all of the facts in jj l2 (A-M) below to Harrison K-9.

A. Early in 2016 the homes in Plaintiffs’ subdivision began to be burglarized.

B. Tracey Roberts Was one of the only residents Who stayed home during the day, and

she frequently Worked outside in her front yard.

C. In June 2016, after neighbors had been reporting home burglaries, stolen cars,

thefts, and attempted thefts, it became readily apparent to Tracey Roberts that various cars

she Witnessed driving through and parking in her neighborhood Were “casing” houses to

target for burglaries.

D. Tracey Roberts paid careful attention to any car that drove by that did not belong

to her neighbors. She began to recognize some of the same individuals and it became

clear to her that these individuals driving through her neighborhood Were part of a large

gang of criminals, and she began taking photographs of the gang members, their cars, and

their license plates to show police.

E. The gang members Witnessed Tracey Roberts taking photographs of them.

F. Tracey Roberts took the photographs of the license plates to the police, Who ran the

plates. Of the twelve plates Tracey Roberts took photographs of, nine of them came up

stolen.

G. But Police did nothing about the on-going “casing” in her neighborhood.

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H. Tracey Roberts feared she had made herself a target and had trouble sleeping

because she feared for her life. One night, Tracey Roberts witnessed several vehicles

“case” her house every twenty minutes.

I. Then one day, when Tracey Roberts was getting the mail from her mailboxj one of

the gang members slowly drove by, glared at her, and made a gesture with his hand as

though it was a pistol shooting at her.

J. Soon thereafter, Tracey Roberts witnessed one of the criminals standing outside her

back fence watching her property when she was there alone.

K. Of the approximately 38 houses in Plaintiffs’ subdivision, at least l7 were

burglarized.

L. Plaintiffs’ security camera footage showed the criminals with guns in hand on their

property on multiple occasions.

l3. Plaintiffs determined that they needed additional security for themselves and their

property, especially considering Tracey Roberts was alone on the property during the day, and
based on Harrison K-9 advertisements and media, contacted Harrison K-9 to inquire about

purchasing one of their “trained personal protection dogs” for to protect the Roberts and their

property.
l4. Harrison K-9 is in the business of selling “trained personal protection” dogs.
15. Harrison sells its K-9s for anywhere from $30,000 to several hundred thousand

dollars. Harrison K-9 represents that the high price tag for its personal protection security dogs
as compared to other purebred German Shepherd reflects the fact that they are expertly “trained

personal protection dogs” that also are great companions and gentle with children as pets.

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16. Harrison K-9 sells its personal protection dogs to consumers all across the country,
and indeed the world, and represents it has sold “over 15,000 dogs into homes across the world”
in the past 40 plus years it has been in business

17. Harrison K-9 advertises its dogs as providing valuable personal protection to their
owners and warns consumers of the following crime statistics on its website:

From the US Department of Justice

o Every 40 seconds another child is reported missing in the United States.

o Each day 2300 children are reported missing Over 700,000 reported missing annually
and 58,000 by non-family members

o The rate of missing children has increased over 444% since 1982.

o In 80% of the cases where a child was abducted by a stranger, the first contact between
the child and the abductor occurs within 1/4 mile of the victim's home.

o More than 20% of the children in the National Center for Missing Children and Exploited
Children listed in non-family abductions are found dead.

o A woman is sexually assaulted every two minutes in America -- 500 each day.

o One out of every six women has been the victim of an attempted or completed rape in her
lifetime.

o The United States is the 6th ranked country for the highest rape rates.

o 44% of sexual assault victims were juveniles under the age of 18 years old.

o 29% of sexual assault victims are ages 12 to 17 and 15% are under age 12.

o 100% of female rapes resulted in injuries and 75% required medical care after the
attack.

o One out of five children between the ages of 12-17 receive sexual solicitations online

o On average, only 39% of rapes and sexual assaults were reported to law enforcement
officials

Research from the Fraternal Order of Police

ln multiple studies and interviews conducted among convicted sexual assault, robbery and
burglary felons they were asked what security measures taken by homeowners were most
effective at deterring their criminal intentions. Consistently at the top of the list were security
dogs.

When asked why, criminals listed these reasons:

o Canine hearing abilities pick-up suspicious sounds earlier than alarm systems

o Canine barking alerts homeowners and neighbors too quickly.

o Criminals fear of being attacked by a dog.

o Criminals know confronting a dog is much more hazardous than dealing with an alarm
system.

o Dogs don't hesitate and they are not intimidated by the criminal.

See http://harrisonk9.com/info/crimestatistics.cfm.

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18. Based on Harrison K-9s representations in its advertisements and information
disseminated through the media, J im Roberts called Harrison K-9 and spoke at length with the
manager, November Holley, and explained in detail most or substantially all of the facts in 11 12
of this Complaint, fully informing Harrison K-9 regarding the dangerous circumstances under
which Plaintiffs were living under and what their security needs were.

19. Ms. Holley represented that Harrison K-9 could sell and deliver to the Roberts an
expertly trained security K-9 to provide security and protection. Thereafter, Plaintiffs had three
additional conversations with Harrison K-9 in which Harrison K-9 represented the superior
quality and training of a Harrison K-9 and that it could deliver the best family watch dog,
protector, security dog and companion available. As a direct, proximate, and reasonably
foreseeable result of Harrison K-9’s representations, Plaintiffs purchased a purebred male sable
European German Shepherd named “Leo vom Haus Bemsmann.” (“Leo”) for $50,000. Leo was
represented to have a German and internationally certified pedigree.

20. Plaintiffs paid Defendant an additional $7,073.20 for delivery of Leo to New
Mexico and on-site training by Harrison K-9 at Plaintiffs’ home in New Mexico. On June 27j
2016j a Harrison K-9 trainer came to New Mexico and delivered Leo to Plaintiffs at their home.
Harrison K-9 conducted a two-day training session with the Roberts to demonstrate the dog’s
superior training and skills and teach them the German commands and hand signals to control the
dog.

21. The Roberts noticed that Leo had an “odd gait”, but when Jim Roberts pointed it
out to the Harrison K-9 employee, the trainer represented that Leo’s gait was normal for a “true

German” Shepherd from Germany as Leo was.

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22. On June 28j 2016j the Harrison K-9 employee came to Plaintiff’ s house to continue
Leo’s training and Plaintiffs again pointed out that Leo was limping and favoring a hind leg, but
the Harrison K-9 trainer represented that it was nothing to worry about and completed the training.

23. Plaintiffs noticed that Leo was continuing to limp and was clearly in pain so on
June 29, 2016, Tracey Roberts took Leo to a vet for an exam and x-rays, incurring additional
expense. The x-rays revealed chronic changes in Leo’s left rear hip.

24. After the appointment Tracey called Harrison K-9 and requested copies of Leo’s
prior x-rays for comparison purposes, which she received on June 30, 2016. The x-rays had been
taken on June 5j 2015 in Germany. Harrison K-9 also sent a Radiographic Evaluation done on
January 19j 2016 by Dr. Barber, the vet Harrison K-9 utilized, who evaluated Leo that day for
mild lameness in his left rear leg. Dr. Barber concluded that on that date, Leo was free from any
dysplasia assertedly based on the x-rays from 6 months prior by the doctor in Germany. The
radiographic evaluation papers showed that the evaluation had been performed on a dog with a
tattoo number ending in 3225. Harrison K-9 represented that Leo had a microchip (ending in
6598)j not a tattoo ending in 3255. Pet Link confirmed to Plaintiffs that the 3225 dog and 6598
dog are different dogs, both of which came from Germany. Harrison K-9 thereafter represented
to Plaintiffs that Leo’s radiographs for his hips and elbows passed and they could find no medical
reason for Leo’s limping.

25. When Plaintiffs contacted Harrison K-9 to notify it of their suspicions and concerns
about using an evaluation of a different dog to represent that Leo was free from any condition,
Harrison K-9 represented that the dog ID number discrepancy was a simple mistake and that it
really was Leo who had been evaluated. Harrison K-9 also explained that x-rays were not redone

because the vet decided it was not worth the danger associated with putting animals under

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anesthesia. Yet Dr. Barber represented to Plaintiffs that the decision not to take new x-rays of
Leo when Harri son K-9 suspected lameness in January was made by Harri son K-9, not him. Upon
information and belief, Harrison K-9 used a radiographic evaluation of a different dog to conceal
Leo’ s non-conformities.

26. Upon information and belief, rather than admitting that Leo had a substantial defect
that made him unsuitable for sale, Harrison K-9 instead offered to exchange Leo despite Harrison
K-9’s representation that nothing was medically wrong with him. Harrison K-9 e-mailed
Plaintiffs videos of two potential replacement options and also represented, “I hope we can figure
this out and keep Tracey as safe as possible.”

27. Around this time Leo also began to growl at Plaintiffs’ daughter and stopped
following commands, which is another concern about Leo that Tracey shared with Harrison K-9.

28. Plaintiffs were agitated and upset at the possibility of being left without a personal
protection security dog and emphasized to Harrison K-9 how important it was to them to get a
replacement dog that could fulfill the Contract and keep Plaintiffs and their property as safe as
possible. Despite their concerns with Leo, Plaintiffs reasonably relied on Defendant’s
representations about the superior quality and protection skills of Harrison K-9’s suggested
replacement for Leo, and Plaintiffs agreed to replace Leo with a female purebred sable European
German Shepherd named “Eyra von Vierhundert Hertz” (“Eyra” or “Purchased Goods”). Eyra
assertedly has a German and internationally certified pedigree and a birth date of March 7, 2014.
A true and correct copy of her Certificate of Authenticity is attached as Exhibit A.

29. Eyra cost ten thousand dollars less than Leo, l'. e.j $40,000j but Harrison K-9 refused

to return to Plaintiffs the $10,000 difference in price between Leo and Eyra, instead, offering to

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send trainers to Albuquerque, New Mexico, for “touch up” trainings of Eyra after the sale to
account for the difference in price. Since they were left without a choice, Plaintiffs agreed.

30. On July 13j 2016j two Harrison K-9 trainers came to New Mexico to deliver Eyra
and engage in protection training and demonstration of the dog’s skills with Tracey Roberts and
her son at Plaintiffs’ home in New Mexico.

31. On July 14j 2016j after training was complete, the Harrison K-9 trainers produced
a contract for the sale of Eyra (“the Contract”), attached as Exhibit B. The Contract states, “In
consideration for the return of Leo vom Haus Bemsmann by Buyer, Harrison K-9 agrees to
exchange and buyer agrees to accept [Eyra], a security dog that has been trained for Personal
Protection.” But the Contract did not contain a provision regarding the agreed-upon $10,000
worth of additional “touch up” trainings of Eyra, which Tracey Roberts objected to and offered
to write in the provision and sign the Contract, which could be formalized later.

32. The Harrison K-9 trainers refused to let Tracey Roberts alter the Contract and
represented that they must leave immediately and would take Eyra with them if she did not sign
the Contract on the spot. Ms. Holley was not yet in the Harrison K-9 office to confer with
regarding the error in the written Contract.

33. On this take-it-or-leave it basis and fearing for her personal safety without Eyra
present, Tracey felt as if she had no choice but to sign the Contract in order to stay safe so she
reluctantly signed it at the demand of Harrison K-9, in her home in New Mexico.

34. Later that day Tracey called Ms. Holley to discuss the Contract’s omission
regarding the $10,000. Ms. Holley told her that the contact Harrison K-9 uses is a standard form

and no changes could be made, but that the Contract did indeed have a value of $50,000 and

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Plaintiffs had Harrison K-9’s “word” that the additional trainings would be conducted so that
Plaintiffs would enjoy the full value of the $50,000 they had paid for Leo.

35. On August 16, 2016, Tracey Roberts was outside in her front yard with Eyra when
she recognized one of the gang members approaching her on a bicycle. She gave Eyra the
command to bark and guard in order to scare this individual away. Eyra failed to follow the
command and ignored the repeated commands and acted scared instead of protective.

36. Plaintiffs never had the opportunity to view Eyra’s reaction to an actual dangerous
situation prior to the August 16th incident.

37. Plaintiffs had no reason to believe upon delivery of Eyra that she would not perform
per her security protection training.

38. Tracey Roberts reported Eyra’s failure to follow her commands to Harrison K-9,
which in turn represented that Eyra must not have felt a “real threat.” Plaintiffs reasonably relied
on Harrison’s representation that Eyra would perform as trained in the future.

39. On August 26j 2016, Tracey Roberts was taking Eyra for a walk in her
neighborhood when a man she recognized as a threat was walking in her direction. She gave Eyra
the command to bark and guard and Eyra failed to respond once again, even as the command was
repeated.

40. In reliance on Harrison K-9’s previous representations concerning Eyra’s training
and promised performance, Plaintiffs did not at that time notify Harrison K-9 of this incident.

41. In mid-Septemberj Plaintiffs’ friend who breeds dogs came over to their house.
Eyra had never seen this friend. When the friend entered the backyard, Tracey Roberts gave Eyra

the command to bark and guard and Eyra failed to follow the command.

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42. Plaintiffs’ friend retrieved a bite pillow and a tug from her truck and when Tracey
Roberts gave Eyra the bark and guard command when the friend had these items in her handsj
only then did Eyra respond to the commands. But when the friend put the bite pillow and tug
away and Tracey Roberts gave the command to bark and guard again, Eyra again failed to
respond.

43. The only time Eyra ever responded to Plaintiffs’ bark and guard commands was
during her initial training sessions upon delivery (when the trainers used bite sleeves and other
protective gear while training) and when Plaintiffs’ friend carried a bite pillow and tug.

44. Plaintiffs also discovered that Eyra had a medical condition that Harrison K-9 did
not disclose to them, for which Plaintiffs have incurred expenses. 'l`here is no evidence that this
condition originated after the dog arrived in New Mexico. Eyra’s condition affects her energy
level most of the time and prevents her from providing Plaintiffs the protection they require and
for which they purchased the dog. Thus, Eyra’s lack of training cannot be cured because her
health condition also prevents her from fulfilling her security dog duties.

45. Tracey Roberts called Harrison K-9 and left a message for Ms. Holley, who never
returned her call. Tracey Roberts later also called one of the Harrison K-9 trainers regarding
Eyra’s refusals to follow commands. He told her he would talk to Ms. Holley and they would
call her back, but neither one of them ever did. Tracey Roberts called and left another message
for Ms. Holley with no return call.

46. Harrison K-9 has a pattern and practice of selling K-9s that are either unfit
medically contrary to Harrison K-9’s representations or that are not trained as Harrison K-9

represents, or both.

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47. Following Plaintiffs’ discovery of Eyra’s non-conformities, Plaintiffs have
obtained the following information. Plaintiffs offer the following evidence of Harrison K-9’s

other wrongs.

Additional Complaints Made Against Harrison K-9

48. In 2014j a couple from Idaho filed a complaint against Harrison K-9, the business
owner, and November Holley on behalf of themselves and their minor children. According to the
complaint, they purchased a German Shepherd security dog from Harri son K-9 for $45,000.
Shortly after delivery, the dog began to show signs of lameness. Their Idaho vet was unable to
diagnose the dog’s condition so Harrison K-9 persuaded the couple to ship the dog back to South
Carolina so the vet there, who was familiar with the dog, could evaluate and treat it. That vet was
unable to find anything wrong with the dog. Harrison K-9 sent the couple a video of the dog,
who appeared to be performing in good health so the couple advised Harrison K-9 to ship their
dog back. Harrison K-9 then responded that it had sold their dog. The couple and their children
were devastated. They wanted their dog back, and if not their dog, then their money back because
their dog was “irreplaceable.” Harrison K-9 refused to give their money back; its only offer was
to provide a replacement dog. They also alleged that Harrison K-9 told them that they did not
“deserve” their dog.

49. Another Harrison K-9 customer posted the following review of Harrison K-9 to the
popular business review website www.Yelp.com:

If you think your wife is safe. If you think your children are safe. If you think you are safe
with a Harrison K9 in your home -- think again!!

Fraud Alert! Buyer Beware!

March 2015 1 purchased a $42,000 Harrison K9 about 10 days after my home was burglarized. 1
was afraid to go home as 1 live alone. 1 called in and spoke with November. She sold me a dog
she promised would protect me. She told me my dog was a no nonsense girl who's protection

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skills were some of the best she had seen and worked with. Patrick, my dog's trainer said the
same thing.

1 shared with November my biggest fear was had 1 been home during the burglary, 1 would have
been all alone. She assured me my girl would keep the bad guys out!

1 was afraid to go home. 1 could not sleep. 1 am afraid of guns & did not want one in my house.
November told me my Harrison K9 would be my gun. She'd protect me.

July 2016 1was the victim of a home invasion. 1was tied up by 3 armed & masked men. My
Harrison K9 didn't bark to notify me 3 men were coming up my driveway or standing at my
front door before they entered my house around 11pm at night. My Harrison K9 didn't bite or
attack or react. She seemed scared. She was walked into the bathroom by 1 of the invaders.
He told me, "next time 1'd get a better dog! "

As 1was being dragged from my front room into my living room then 1 was tied up. The story
gets worse, but for my own safety & the ongoing police investigation, 1 cannot share more.

Plz see the LA Times Article -
latimes.com/local/lanow/. . .

1f you think your wife is safe. 1f you think your children are safe. 1f you think you are safe with
a Harrison K9 in your home -- think again!!

You're simply buying an overpriced pet. 1 was fooled. Please don't let what happened to me
happen to you or your loved ones.

1 was told the owner Harrison Prather would call me. Apparently, he's too busy in Thailand to
pick up the phone.

(1f you read the LA Times article please take a look at the 1st comment posted to the article.

"1 guess the dog was not a German Shepherd."

Sadly, she was a $42,000 trained attack German Shepherd. 1 would have been better off with a
Chihuahua. At least they bark.)

Aval'lable at https://www.yelp.com/biz/harrison-k-9-security-services-aiken, attached as Exhibit

C. The LA Times article referenced within the review is attached as Exhibit D.

50. Upon information and belief, other purchasers of Harrison K9s have made
complaints against Harrison K-9 concerning the non-conformity of their dogs and their
misrepresentations about the dogs’ training and medical fitness to perform superior personal

protection services

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COUNT I- REVOCATION OF ACCEPTANCE

51_ All previous paragraphs are incorporated by reference as if fully set forth herein

52 Under Section 2-608 of the New Mexico Uniform Commercial Code (“UCC”), a
buyer may revoke its acceptance of goods when a non-conformity substantially impaired the value
of the goods if the buyer accepted the goods: (_a) on the reasonable assumption that the non-
conformity would be cured and it has not been seasonably cured, or (b) without discovery of such
non-conformity if the buyer’s acceptance was reasonably induced either by the difficulty of
discovery before acceptance or by the seller’s assurances

53. A buyer may revoke acceptance of goods by providing notice to the seller within a
reasonable time after the buyer discovers or should have discovered the grounds for revocation
and before any substantial change in condition of the goods which is not caused by their own
defects UCC, §2-608.

54. Plaintiffs reasonably assumed, and Defendant represented, that Eyra was expertly
trained and in medically fit shape to perform services as a security dog.

55. As Plaintiffs later discovered, Eyra was unfit medically and did not respond to
training commands in dangerous scenarios.

56. Plaintiffs had no knowledge of such defects and nonconformities, was unaware of
these defects, and reasonably could not have discovered them when Defendant delivered Eyra.

57 . Plaintiffs accepted delivery onyra without knowledge ofthe non-conformities and
defective medical conditions

58. Defendant was aware of the nonconformities and defects at the time of the sale and

thereafter.

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59. Acceptance was reasonably induced by the difficulty of discovery of the defects
and nonconforrnities before acceptance.

60. Because all pre-contract execution training of Eyra was conducted with the trainer
utilizing either an arm sleeve or bite pillow, it was not discoverable upon delivery that Eyra would
not respond to commands outside the presence of an arm sleeve or bite pillow.

61. Acceptance of Eyra by Plaintiffs was reasonably induced by the difficulty of
discovering the non-conformities and defects in the Purchased Goods before acceptance

62. When Plaintiffs notified Harrison lsi-9 of Eyra’s non-conformities, Harrison K-Q
assured Plaintiffs that Eyra would perform in situations of actual danger and that there must not
have been a real threat

63. Defendant thus induced Plaintiffs into believing that Eyra would perform as
represented and promised

64. lin additionj Eyra has been diagnosed with a medical condition that si gniticantly

impairs her ability to perform her functions as a security dog

65. There has been no change in the condition of Eyra not caused by the defects and
nonconformities.
66. Plaintiffs sent Defendant a revocation of acceptance letter demanding instructions

for the return of Eyra to Defendant within a reasonable time period after discovering Eyra’s
defects and non-conformities.

67. Plaintiffs have complied with all of the requirements of UCC, Section 2-608 in
revoking acceptance.

68. Eyra’s inability to perform as a security dog substantially impairs the value of the

goods to Plaintiffs and Plaintiffs have revoked their acceptance of the Purchased Goods. This

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impairment stems from the fact that Eyra has failed to perform her essential purpose as a security
K-9.

69. Consequently, Plaintiffs are entitled to the return of all monies paid to Defendant
as well as incidental and consequential damages incurred as a result of the Purchased Goods’
nonconformities, including the costs associated with treating the undisclosed medical condition
of the Purchased Goods, and all other damages allowable under law, all in amounts to be proven
at trial, but in a total amount less than seventy-five thousand dollars (5575,000.00)j exclusive of

interest and costs.

COUNT II- BREACH OF CONTRACT

70_ To the extent necessary, Plaintiffs plead this count in the alternative
71 All previous paragraphs are incorporated by reference as if fully set forth herein
72a Plaintiffs contracted with Harrison K-9 to provide a top-notch, expertly trained

security dog.

73_ Harrison K-9 breached its contract with Plaintiffs by providing Purchased Goods
that did not satisfy the express required performance parameters

74. Unlike with Leo’s non-conformities, Defendant Harrison K-9 did not attempt to
cure the defects and non-conformities in Eyra and instead initially assured Plaintiff that Eyra had
no defects or non-conformities and was functioning in full capacity and as trained, until Harrison
K-9 stopped responding at all to Plaintiffs

75. Plaintiffs have been damaged as a direct, proximate and reasonably foreseeable
result of Harrison K-9’s breach of contract and other acts and omissions and are entitled to

judgment therefor as pleaded below.

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COUNT III- BREACH OF EXPRESS WARRANTY

76 'l`o the extent necessary, Plaintiffs plead this count in the alternative
77. All previous paragraphs are incorporated by reference as if fully set forth herein
78. Under the New Mexico UCC, Section 2-313, Express warranties by the seller are

created as follows:

(a) any affirmation of fact or promise made by the seller to the buyer which relates to the
goods and becomes part of the basis of the bargain creates an express warranty that the goods
shall conform to the affirmation or promise;

(b) any description of the goods which is made part of the basis of the bargain creates an
express warranty that the goods shall conform to the description;

(c) any sample or model which is made part of the basis of the bargain creates an express
warranty that the whole of the goods shall conform to the sample or model.

Nl\/[SA 1978, § 55-2-313 (1961).

79. Defendant made or gave to Plaintiffs certain specific affirmations of fact, promises
and/or descriptions which related to the Purchased Goods.

80. Defendant’s affirmations of fact, promises and descriptions became part of the basis
of the bargain and created an express warranty that the Purchased Goods would conform to those
affirmations of fact, promises and descriptions

81. Plaintiffs relied on Defendant’s affirmations of fact, promises and descriptions
regarding the higher price and value of Defendant’s K-9s as expertly trained purebred security
dogs as compared to other, non-trained purebred dogs.

82. After Defendant delivered the Purchased Goods, one or more of Defendant’s
affirmations of fact, promises and/or descriptions regarding the characteristics and performance
of the goods were discovered by Plaintiffs to be false.

83. Defendant breached express warranties to Plaintiffs

84. The Contract purports to disclaim any express warranties.

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85. Express warranties cannot be disclaimed under the UCC. See UCC, § 2-313, cmts.
i, 4.
86. Plaintiffs have been damaged as a direct, proximate and reasonably foreseeable

result of Defendant’s breach of express warranty and other acts and omissions and are entitled to

judgment therefor as pleaded below.

COUNT IV- CONTRACT VOID FOR UNCONSCIONABILITY

87. To the extent necessary, Plaintiffs plead this count in the alternative
88 All previous paragraphs are incorporated by reference as if fully set forth herein
89_ NMSA 1978j Section 55-2-302 provides:

(1) 1f the court as a matter of law finds the contract or any clause of the contract to have
been unconscionable at the time it was made the court may refuse to enforce the contract, or it
may enforce the remainder of the contract without the unconscionable clause, or it may so limit
the application of any unconscionable clause as to avoid any unconscionable result.

(2) When it is claimed or appears to the court that the contract or any clause thereof may be
unconscionable the parties shall be afforded a reasonable opportunity to present evidence as to
its commercial setting, purpose and effect to aid the court in making the determination.

90. The Contract is substantively unconscionable because Plaintiffs paid $50,000 (plus
the cost of training) for a security and protection dog that will not perform as promised and has
no value.

91. The Contract provides that under no circumstances will Defendant provide a
monetary refund.

92. The Contract provides that under certain conditions, the purchaser can exchange
the purchased dog one time for a replacement dog.

93. Plaintiffs already received one replacement dog due to the medical unfitness and

lack of following commands of the first dog they purchased.

94. Defendant replaced the first dog with another medically unfit, untrained dog.

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95. Defendant has demonstrated that it incapable of fulfilling the Contract by providing
a medically fit, expertly trained security dog that will respond to bark and guard commands
outside the presence of a bite pillow or arm sleeve.

96 The Contract is procedurally unconscionable because Defendant told Tracey
Roberts that the terms could not be a.nrended, despite the Contract’s failure to reduce the agreed-
upon terms in wri ting, and 'l`racey Roberts was forced to sign the Contract under duress on a take-
it-or-leave-it basis or risk her personal security

97 . The arbitration provision within the Contract is likewise procedurally
unconscionable because Defendant represented that the Contract was non-negotiable and no terrns
could be modified or added; and Defendant was prepared to take the dog back to South Carolina
knowing Plaintiff’s security situation This literal “tal<;e it or leave it"' basis is quintessential
procedural unconscionability.

98a The arbitration provision is al so substantively unconscionable because the Contract
is a consumer contract that requires consumers from all across the country (and world:) to travel
to South Carolina to arbitrate any claims in the same county as Defendant’s headquarters

99. Because the Contract is unenforceable for unconscionability, Plaintiff seeks
rescission ofthe Contract and dam ages in an amount to be determined at tri alj but in a total amount

less than seventy-five thousand dollars ($75,000.00)j exclusive of interest and costs.

COUNT V- BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

100 'l`o the extent necessary, Plaintiffs plead this count in the alternative

101. All previous paragraphs are incorporated by reference as if fully set forth herein

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102. Under Section 2-314 of the New Mexico UCC, a warranty of merchantability is
implied in all contracts for sale unless this warranty is expressly disclaimed. See NMSA 1978, §
55-2-3 14.

103. The Contract purports to disclaim the warranty of merchantability.

104. But because the Contract is unconscionable (Count 1V), the disclaimer is
unenforceable.

105. The Purchased Goods Harrison K-9 sold to Plaintiff constitute “goods” as that term
is defined by the New Mexico UCC. NMSA 1978j § 55-2-205 (1961).

106. Defendant is a “merchant,” as that term is defined by the New Mexico UCC, with
respect to the Purchased Goods. NMSA 197 8j § 55-2-204 (2006).

107. The Purchased Goods as supplied by Defendant and sold to Plaintiffs were not
merchantable, and otherwise would not pass without objection in the trade under the Contract
description and would not fit for the ordinary purpose for which such goods are intended.

108. Upon the sale of Eyra to Plaintiffs, Defendant breached the implied warranty of
merchantability.

109. Plaintiffs have been damaged as a direct, proximate and reasonably foreseeable
result of Defendant’s breach of the warranty of merchantability and other acts and omissions and

are entitled to judgment therefor as pleaded below.

COUNT VI- BREACH OF WARRANTY OF FITNESS FOR A

 

PARTICULAR PURPO SE
l 10, To the extent necessaryq Plaintiffs plead this count in the alternative
lll. All previous paragraphs are incorporated by reference as if fully set forth herein

112. Pursuant to Section 2-315 of the New Mexico UCC, where the seller at the time of
contracting has reason to know any particular purpose for which the goods are required and that

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the buyer is relying on the seller’s skill or judgment to select or furnish suitable goods, there is,

unless excluded or modified, an implied warranty that the goods shall be fit for such purpose.

113. The Contract purports to disclaim the warranty of fitness for a particular purpose.
114. But because the Contract is unconscionable (Count 1V), the disclaimer is
unenforceable.

115. Plaintiffs purchased Eyra for a particular purpose, l`.e., security guard dog.

116. At all relevant timesj Plaintiffs notified Defendant and Defendant knew of the
particular purpose for which Eyra was purchased.

117. At all relevant times, Defendant knew that Plaintiffs would rely, and that Plaintiffs
in fact did rely, on Defendant’s skill and judgment to select and furnish suitable goods, as well as
Defendant’s representations regarding those goods.

118. The Purchased Goods supplied by Defendant were neither fit nor suitable for the
purpose for which they were intended.

1 19. Upon the sale of the Purchased Goods to Plaintiffs, Defendant breached the implied
warranty of fitness for a particular purpose.

120. Plaintiffs have been damaged as a direct, proximate and reasonably foreseeable
result of Defendant’s breach of warranty of fitness for a particular purpose and other acts and

omissions and are entitled to judgment therefor as pleaded below.

COUNT VII- BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING

121. 'l`o the extent necessary, Plaintiffs plead this count in the alternative
122. All previous paragraphs are incorporated by reference as if fully set forth herein
123. Plaintiffs have fully complied to the extent able with their duties and obligations

under the Contract.

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124. Pursuant to the terms in the Contract, Defendant had a legally binding obligation to
supply a K-9 expertly trained and medically fit to perform security guard dog services Plaintiffs
relied upon such covenant and duty.

125. Defendant supplied a medically unfit K-9 that was untrained to perform security
guard dog services in actual dangerous circumstances

126. Defendant has substantially refused to communicate regarding the Purchased
Goods’ defects and non-conformities.

127. Defendant’s failure to fulfill the terms of the Contract and refusal to communicate
regarding the Purchased Goods’ defects and non-conformities breach the duty of good faith and
fair dealing.

128. Plaintiffs have been damaged as a direct, proximate and reasonably foreseeable
result of Defendant’s breach of the implied covenant of good faith a fair dealing and other acts

and omissions and are entitled to judgment therefor as pleaded below.

COUNT VIII- UNJUST ENRICHMENT

129. To the extent necessaryj Plaintiffs plead this count in the alternative

130. All previous paragraphs are incorporated by reference as if fully set forth herein

131. Plaintiffs paid over $50,000 to Harrison K-9 for what Harrison K-9 represented was
an expertly trained and medically fit security guard dog.

132. What Plaintiffs actually received was Eyra, valued at 5540,000j who was worthless
to Plaintiffs for the purpose she was purchased.

133. Harrison K-9 knowingly and voluntarily retained the benefit of the over $50,000
Plaintiffs have paid to it to date without providing a dog fit to provide security services to

Plaintiffs as advertised and warranted.

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134. As a result of Defendant’s wrongful and fraudulent acts and omissions, as set forth
above, pertaining to the misrepresentations about Eyra’s medical fitness of security training and
abilitiesj Harrison K-9 charged Plaintiffs a higher price for their security dog than the dog’s true
value and Defendant obtained monies rightfully belonging to Plaintiffs

135. Defendant was thus enriched at the expense of Plaintiffs, and it would be against
equity and good conscience for Defendant to retain these wrongfully obtained profits

136. Plaintiffs have been damaged as a direct, proximate and reasonably foreseeable
result of Defendant’s unjust enrichment and other acts and omissions and are entitled to judgment
therefor as pleaded below.

COUNT IX- NEGLIGENT OR INTENTIONAL MISREPRESENTATION

l37. 'l`o the extent necessary, Plaintif`s plead this count in the alternative
138. All previous paragraphs are incorporated by reference as if fully set forth herein
139. Defendant knew that it was critical to Plaintiffs to receive an expertly trained

personal security dog that could protect their home and persons and keep them as safe as possible.

140. Defendant negligently or intentionally made materially false representations of the
true nature of the quality of the Purchased Goods for the purpose of inducing Plaintiffs to purchase
the Purchased Goods. Defendant knew or should have known that its representations regarding
its security dogs’ capabilities to protect and guard their owners in dangerous situations and other
representations were false or it made such representations recklessly.

141. Defendant intended for Plaintiffs to rely on such false statements, representations,
and disclosures of fact, or Defendant knew or should have known that Plaintiffs would rely upon

its negligently or intentionally materially false representations

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142. Plaintiffs justifiably relied on such false statements, misrepresentations and
disclosures of fact, which played a material and substantial part in leading Plaintiffs to purchase
the Goods.

143. Plaintiffs have been damaged as a direct, proximate and reasonably foreseeable
result of Defendant’ s negligent or intentional misrepresentations and other acts and omissions and

are entitled to judgment therefor as pleaded below.

PRAYER FOR RELIEF
WHEREFORE, Plaintiffs respectfully request that the Court enter judgment:
1`) Against Defendant in an amount to be determined at trial but not exceeding the total sum
or value of $75,000, exclusive ofinterest and costs, and
2) l~`or such other and further relief as the Court deems appropriate including without
limitation applicable costs

Jury Demand

Plaintiffs request a trial by jury before a jury of six persons, on all claims triable to a jury.

Plaintiffs have deposited their jury fee in the amount of $150.00.

Respectfully submitted,
ATKINSON, BAKER & RODRIGUEZ, P.C.

/s/Jull'a E. Crooks

Julia E. Crooks

Clifford K. Atkinson

201 Third Street NW, Suite 1850
Albuquerque, Nl\/[ 87 102

(505) 764-8111
jcrooks@abrfirm.com

catkinson@abrfirm.com
Attorneys for Plainlljj‘

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EXHIBIT

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Page 1 0:§1"3

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1“€1'11.1'1~§11§ m 1111 "Buyer".

111 consideration for the return af Leo mm Haus Bemsmann by wynn Harrison K~E) agrees 1111
exchange ami buyer agyees 111 accept EW’H V()¥§ Vierhum§er{i H;el*fz # 931} 3?99§)9§§3@501 11
sewriiy dug that has been trained for Persoua`i Profection.

3m LIMI'I"ED WARRANTY

Harrison K-£* believes the dog is free f§’om ci)ngenii‘a! health d§f&ctx that Wmlld prevent the dog from
perjhrm.ing if§‘ duties for 11 perimi. afsix~mmz£'hs from 1?§1€‘1¥.11‘11~. the dog is first delivered 130 lmycr, 111 tim
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I§Ia'rris¢on 1139 Wili replace the dog GN}§Z iiim§z, 312 1111 aii{i‘itiona! charge 111 buyer With 21 1139 of 111§1121}
values provided that tim dog 13 returned prepaid 111 the b11'3.111r’11 expense within gwen {“1"’} days of
diagnoses to fH'-arri§u'n K:~§L If a replacelnem dog is ne§essary, the buyer agrees 111 be bonded `1‘1) salfi ms
terms and armditiuns ofthe original agreement Buyer also agrees the second dogs guarantee wii} be a
coni'in11:1m:1>. of the first dog’s original gua.ra.n£rce, Buyer agrees acceptance rsfrepiacemesxt d§g dow 111:11'
creamth a second agreement and in 1111 way mms the terms and conditions of fha m'igi;m.¥ ma:i'_mc£'.

B. _LIMITATIQN QN WARRANTI£ES

Har¥i§im 1139 makes 110 express or implied 11':11'1'§111.11>.5 mnwming tim dog gold under the agreement
other than those set forth above. Any affirmations or repre§eni'§thm§ made by §§iarriseu_ 1139 111
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the original dog 1)1' any 'repfacement dog. Harrison K»§l regreii;s we 1111 1101 issue monetary refunds for
purchases of P‘et§mwi Prr»tectiolx trained Security dogs,

Hl.»§§{R§SGN K~S* MAKES NU WARRANTY UF MERCHAN’}`AH}:L§"I.`"§’ NOR WARRANTY GF
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Pa.ge 2 of 5

3. SUI"I"ABIZ;_.ITY

Harrison K~FJ agrees that within Sixty\~day$ of buyer taking deii_very of the dog that would buyer nut
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additional charge fn buyer, provided the dog is returned prepaid at the buye§"’s expezxse, and further
finn tile buyer has fn}§nwed the instructions in the owsl.ez"s manual §§ a rep§acement’ dog is necessary
the suital)iiity 'warrmzt Wi_ll extend until the original §ixty~day suitability guarantee expires.
Re{}ia€ement dogs must fm sc.iected within mw~year of the return czf tim original dog if dog is m)¥.
sele:ci’ed Within one~yea'r time frame, Harrison ,K~B` reserves the right to keep ail. monies paid and void
contract for future replacement Harrison K~£? Strong!y remmmends install admit members of the
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Harrison K~SI Security Servic&s Ll.-C., slmuld he notified in wiring of any problems with the dog
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authorization from 1§{aifrison K»S?, and buyer has not subjected the dog m physica} or mental shaw
Buyer is respons'ih§§>. forms w*ze}¥¥b¢zing of the d.og. The 13ng must he returned to }Efarri:~mn. K~.Q in the
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Hailure to return original European papem»ork, if applicable, Within the specified lime fman Wi¥l
immediate!y void any and .afi Warrsmties or guarantee$ expressed or implied,}

4. §NDEMNIFICAT§ON BY BUYER.

The parties agree they are purchasing a dog trained for securiiy purpo§es and that v pen departure of
tile dog from Harri:~?on fl§»$*"s faciiiq> Buyer .ass.umes_ full respensibiiiiy for the dog, its mainfenam;;z,
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Buyer hereby agrees w indemnify and hold harmlesx_, garrison E»S*, itS officers@-s!mr¢!mldcrs,,
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(§}li) any act m failure m act of Harrison K~B, its officers,, shaz»'e.ho`_§d.ers, direz:£ors, em.p!o}fees‘ and
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Freoo Aieltl Buyer Bewere!

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days after my home was burglarized l was afraid te go
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She assured me my girl would keep the bad guys outi

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gone & did not want one in my houee. Noyernber told me
my Harrison KQ would be my gun. She'd protect me.

July 2016 i was the victim oi a horne irwaelonq i wee tied
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lie toid nie, "next tlrne i‘d get el better dooi“

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"i guess the dog wee riot e German Shepherd."

Sediy, she wee a $42,000 trained attack German
Shepherd l would have been better off with a Chihuahua.
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https://www.ye|p.com/biz/harrison-k-9-security-servi ces-ai ken

11/11/2016 CaSe 1217-CV-C$]1®']!5'19U*¥®K‘%E?E?eéfi?ieqhte!§-WMF'PRZMW@G¢H uPPldQ'l`l“§Z Of 34

Sherman Oaks Woman escapes after robbers
invade her home and tie her up

 

Poilr::e are sean:ning tier three armed intruders who tied an a Sherman Ce§<s resident dating a home invasion robbery Tuesday night

By§;ris:a Evar§s
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hree armed suspects invaded a woman’s home, tied her up and robbed her home in Sherman Oaks
on Tuesday night, police said. The woman managed to escape, but so did the robbers,
unfortunately.

The crime was reported to have occurred around 11 p.m. in the 3900 block of Ventura Canyon Avenue. Police
said that the victim, a woman in her mid-305 who lives alone with her dog, opened her front door to check if
she’d left her garage door open.

ADVERT!S§NG

EXHIBIT

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Standing on her front porch Were three men between 5-feet- 10 and 6 feet tall dressed in dark clothing and ski

masks and armed with guns.

The suspects forced the woman into her home, where they tied her up and started ransacking her house, police
said. At one point she was moved to a back room.

She was able to loosen the ties on her hands and then untie her feet. She escaped out a back window and fled
to a neighbor’s house, where she called police around 11:40 p.m.

But by the time law enforcement arrived, the thieves were gone.

The men stole more than $60,000 worth of property including jewelry, a watch, a couple laptop computers and
a high-end purse.

“Based upon the investigation it seems like theYve done this before,” said Lt. J im Gavin of the Van Nuys Police
Station. “I don’t think it’s happened in the San Fernando Valley, because I checked with surrounding areas, but

that doesn’t mean they haven’t done it somewhere else.”

Gavin said that the area where the robbery took place is relatively isolated. The home has a long driveway and
sits by itself. Police are seeking security video from neighboring houses and commercial establishments that
might have captured the suspects entering or exiting the neighborhood.

“There are only a few ways to get in and out of that area,” he said. “It would have been difficult for them to
escape without being seen.”

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